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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND


JOHN DOE                                       :
                                               :
           V.                                  :             Case No. 18-106-JJM-LDA
                                               :
JOHNSON & WALES UNIVERSITY                     :

                   DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
                   PLAINTIFF’S RESPONSE TO DEFENDANT’S INTERROGATORIES
                        AND REQUEST FOR PRODUCTION OF DOCUMENTS

           Defendant Johnson & Wales University (“JWU”) responds briefly to Plaintiff’s objection to

JWU’s motion to compel.

           Plaintiff notes that JWU has given Plaintiff several extensions to respond to JWU’s document

requests and interrogatories propounded in early June, which extensions passed without compliance.

After JWU filed its motion to compel, counsel conferred regarding the outstanding discovery and agreed

to schedule Plaintiff’s deposition to occur on November 1, 2018.

           To allow JWU sufficient time to review the discovery responses and prepare for Plaintiff’s

deposition, JWU requests that the Court enter an order requiring Plaintiff’s production of his past due

responses by Friday, October 5, 2018. JWU’s motion to compel should be granted, not denied as

suggested by Plaintiff.


                                               /s/ Steven M. Richard
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Dated: September 24, 2018                      Attorneys for Defendant Johnson & Wales University




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                                    CERTIFICATE OF SERVICE

        I certify that, on the 24th day of September, 2018, I served this Reply upon Plaintiff’s counsel
by electronic mail through the Court’s EM/ECF system.

                                              /s/ Steven M. Richard




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